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   1   Name: Fernando Gastelum
       Address: 209 W. 9 th Street, Casa Grande, AZ 85122 Mar 17 2025
  2
       Telephone Number: 520-560-0927
  3    Email: fernandog8899 @gmail.com
                                                           s/ GloriaVocal
  4    Prose
                          IN THE UNITED STATES DISTRICT COURT
  5                         SOUTHERN DISTRICT OF CALIFORNIA
  6
       FERNANDO GASTELUM,                                Case No.:    '25CV0636 LL   DDL
  7
                                            Plaintiff,         VERIFIED COMPLAINT
   8
                             vs.
                                                         1. Violation of the ADA
  9     ALBERTSONS COMPANIES, INC. dba
  10                                                     2. Violation of Unruh Civil Rights Act
        VONS
  11                                      Defendant.     3. Violation Of The Disabled Persons
                                                            Act
  12
  13                                                     4. Malice and Oppression
  14
                                                     I
  15                                              PARTIES
  16
       1. Plaintiff is a senior citizen with physical disabilities.
  17
       2. Plaintiff is missing a leg.
  18
       3. Plaintiff is an ADA Tester.
  19   4. Plaintiff lives in Casa Grande, Arizona, with his extended fami ly in this house:
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   1   5. Since 2015, Plaintiff has been using a wheelchair for mobility in locations that are
   2      designed for wheelchair use:

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  16
       6. Plaintiffs missing leg is a physical impairment that substantially limits one or more
  17
          major life activities like walking, reaching, pushing and other musculoskeletal
  18
          activities that are normally associated with missing lower limbs.
  19
       7. Defendant is a public accommodation who owns, operates, leases or leases to a third
  20
          party a general merchandise store at 8011 University Avenue, La Mesa, CA 92041
  21      (Store).
  22                               II
        FEDERAL QUESTION, SUPPLEMENTAL AND DIVERSITY JURISDICTION
  23
  24   8. The Court has subject matter jurisdiction over the action pursuant to 28 U.S.C. §
  25       1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with Disabilities Act

  26      of 1990, 42 U.S.C. § 12101 , et seq.

  27   9. Plaintiff has specific intent to return to the Store when he is assured that the Store is
           accessible to him.
  28

                                                     2
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   1   10. Plaintiff is otherwise deterred from conducting business at any of the Stores, or any
  2       other store owned or operated by Defendant because Defendant, as the public entity,

  3       has failed to comply with the non-discriminatory provisions of the ADA, including

   4      42 U.S.C. §12182 (b)(l)(D), 42 U.S.C. §12182 (b)(2)(A)(ii) and 42 U.S.C. §12182
          (b)(2)(A)(iii), and the Unruh Civil Rights Act and the Disabled Persons Act.
   5
       11. The Court has discretionary supplemental jurisdiction over allegations of Unruh Civil
   6
          Rights Act claim relative to architectural barriers, but, to the best of Plaintiff's
   7
          understanding, the Court has supplemental jurisdiction over non-architectural Unruh
   8
          policy violations.
   9
       12. This Court also has diversity jurisdiction pursuant to 28 U.S.C. §§ 1332 based on:
  10
          A. Plaintiff is a citizen of the state of Arizona; and
  11
          B. Defendant is a citizen of the State of Delaware; and
  12
          C. The amount in controversy, including (l) cost of compliance with injunctive
  13          relief, (2) statutory damages, (3) punitive damages, ( 4) loss of revenue damages,
  14          (5) attorney's fees and (6) costs all of which, to the best of Plaintiff's estimate,
  15          greatly exceed the statutory threshold of $75,000.00.
  16   13. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is founded on the
  17      fact that the real property which is the subject of this action is located in this district

  18      and that Plaintiffs cause of action arose in this district.

  19                                           III
                                      FACTUAL ALLEGATIONS
  20
       14. On December 16, 2024, Plaintiff visited the Store, but was denied full and equal
  21
          access by virtue of:
  22
          ►   The service counter provided at the coffee stand was cluttered with merchandise
  23
              and equipment and was unusable to Plaintiff as a result of his disability. This
  24
              condition makes Plaintiff's use of the service counter more difficult. This
  25
              condition violates accessibility standards at 904.4.1.
  26
          ►   The access to the coffee stand was denied him by virtue of promotional baskets
  27          located in front of the service counter.
  28

                                                      3
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  2                Count One - Violation Of The ADA and Declaratory Judgment
                                    (42.S.C. section 12101, et seq.)
   3
   4 15. Plaintiff incorporates all allegations contained elsewhere in this Complaint.
     16. Service counter layout in the coffee stand was cluttered with merchandise or
   5
         promotional products which makes them unusable to Plaintiff and other persons with
   6
         disabilities.
   7
     17. Plaintiff and others similarly situated are deterred from visiting the Store and the
   8
         coffee stand because (i) they know that the service counter will be cluttered with
   9
         equipment and merchandise and will be unusable to disabled patrons, and because (ii)
  10
         they know that they are likely to encounter the areas in front of the service counters
  11
         inaccessible to individuals on wheelchairs for parallel approach by virtue of the use of
  12     this area for the promotional baskets.
  13   18. The barriers listed above relate to Plaintiff's disability and interfere with his full and
  14      equal enjoyment of the Store because the barriers make it more difficult and unusable
  15      to Plaintiff.
  16 19. The remediation of the barriers identified above is readily achievable.

  17    0. Plaintiff intends to return to the Store referenced in this Complaint when he is assured

  18      that they have become welcoming to Plaintiff and similarly situated persons with

  19      disabilities who use a wheelchair.
        1. During the time that Defendant fails to comply with the non-discriminatory provisions
  20
          of 42 U.S.C. § 12182, Plaintiff is deterred from patronizing it.
  21
        2. Consequently, the injury to Plaintiff is likely to recur as a matter oflaw.
  22
           WHEREFORE, Plaintiff requests relief as follows:
  23
           A. Declaration that at the commencement of this action Defendant was in violation
  24
               of the specific architectural requirements of disability laws detailed above; and
  25
           B. Declaration that at the commencement of this action Defendant did not have an
  26
               enforceable policies, practices, or procedures to afford goods, services, facilities,
  27

  28

                                                       4
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   1          privileges, advantages, or accommodations to Plaintiff and others similarly
   2          situated in violation of 42 U .S.C. § 12182.
   3     C. Order that Defendant implement enforceable policies, practices, or procedures to
   4          afford goods, services, facilities, privileges, advantages, or accommodations to
   5          Plaintiff and others similarly situated pursuant to 42 U.S.C. § 12182.
   6     D. Order that all Defendant removes all barriers to accessibility in all its Stores; and
   7     E. Order that Defendant remediate each and every inaccessible element in the Store;
   8          and

   9      F. For costs and expenses and lawyer's fees should Plaintiff hire a lawyer; and
  10      G. For whatever other relief the Court deems just, equitable and appropriate.
  11                   Count Two - Violation Of The Unruh Civil Rights Act
                                    (Cal. Civ. Code§ 51-53.)
  12
  13   3. Plaintiff incorporates allegations contained elsewhere in this Verified Complaint.

  14   4. The Unruh Civil Rights Act ("Unruh Act") guarantees, inter alia, that persons with

  15     disabilities are entitled to full and equal accommodations, advantages, facilities,
         privileges, or services in all business establishment of every kind whatsoever within
  16
         the jurisdiction of the State of California. Cal. Civ. Code §51 (b). Unruh Act also
  17
         provides that a violation of the ADA is a violation of the Unruh Act. Cal. Civ. Code, §
  18
         5 l(f).
  19
       5. Defendant's Store violated the Unruh Act by denying Plaintiff's rights to full and
  20
         equal use.
  21
       6. Defendant's violation of the Unruh Act makes Defendant responsible for statutory
  22     civil penalty. (Civ. Code§ 55.56(a)-(c).)
  23      WHEREFORE, Plaintiff requests relief as follows:
  24      A. Declaration that at the commencement of this action Defendant was in violation
  25          of the specific requirements of disability laws detailed above; and
  26      B. Declaration that at the commencement of this action Defendant did not have
  27          enforceable policies, practices, or procedures to afford goods, services, facilities,
  28

                                                     5
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              privileges, advantages, or accommodations to Plaintiff and others similarly
  2           situated; and
   3      C. Order that Defendant implement enforceable policies, practices, or procedures to
   4          afford goods, services, facilities, privileges, advantages, or accommodations to
   5          Plaintiff and others similarly situated; and
   6      D. Order that all Defendant removes all barriers to accessibility in all its stores; and
   7      E. Order that Defendant remediate each and every inaccessible element in the stores
   8          that are subject of this Verified Complaint; and
   9      F. For damages in an amount no less than $4,000.00 per Unruh violation per
  10          encounter as alleged above; and
  11      G . For treble damages pursuant to Cal. Civ. Code §3345(b); and
  12      H. For punitive damages as more fully alleged below; and

  13      I. For costs and expenses and lawyer's fees should Plaintiff hire a lawyer; and

  14      J. For whatever other relief the Court deems just, equitable and appropriate.

  15                    Count Three - Violation Of The Disabled Persons Act
                                    (Cal. Civ. Code §§54-54.3)
  16
  17   27. Plaintiff realleges all allegations heretofore set forth.

  18   28. Defendants have violated the DPA by denying Plaintiff equal access to its public
          accommodation on the basis of his disability as outlined above.
  19
  20   29. The DPA provides for monetary relief to "aggrieved persons" who suffer from

  21      discrimination on the basis of their disability.

  22   30. Plaintiff has been aggrieved by Defendant's non-compliance with accessibility laws.

  23   31. Pursuant to the DP A, Plaintiff is further entitled to such other relief as the Court

  24      considers appropriate, including monetary damages in an amount to be proven at trial,
          but in no event less than $1,000.00. Cal. Civ. Code§ 54.3.
  25
  26   32. Pursuant to the DPA, Plaintiff is entitled to costs in an amount to be proven at trial.
          Cal. Civ. Code§ 54.3.
  27
  28       WHEREFORE, Plaintiff demands judgment against Defendant as follows:


                                                       6
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   1      A . Declaratory Judgment that at the commencement of this action Defendant was in
   2          violation of the specific requirements of disability laws; and
   3      B. For damages in an amount no less than $1 ,000.00 per violation per encounter; and
   4      C. For costs and expenses and lawyer's fees should Plaintiff hire a lawyer; and
   5      D. For punitive damages as alleged below; and
   6      E. The provision of whatever other relief the Court deems just, equitable and
   7          appropriate.
   8                     Defendant's Malice And Oppression of the Disabled
                               Supplementing Counts Two and Three
   9
                                     (Civ. Code Article 3, §3294)
  10
       89. Plaintiff realleges all allegations elsewhere in this Complaint.
  11
       90. By its continuing and unrelenting discrimination against the disabled, including
  12
          Plaintiff, Defendant is and has been guilty of oppression and malice.
  13
       91. Defendant' malice and oppression of the disabled are intentional, premeditated, and
  14      specifically designed as a marketing strategy.
  15   92. "Malice" includes "despicable conduct which is carried on by the defendant with a
  16      willful and conscious disregard of the rights or safety of others", including Plaintiff.
  17   93. "Oppression" means despicable conduct that subjects a person to cruel and unjust
  18      hardship in conscious disregard of that person's rights.
  19   94. "Despicable conduct" has been described as conduct that is "so vile, base,

  20      contemptible, miserable, wretched or loathsome that it would be looked down upon

  21      and despised by ordinary decent people." (Lackner v. North (2006) 135 Cal.App.4th
          1188, 1210.)
  22
       95. Plaintiff alleges that intentional segregation and discrimination of the type alleged
  23
          here, and indeed any segregation and discrimination against any member of a
  24
          protective class, is malicious and oppressive as a matter of law.
  25
       96. In addition to the actual damages, Plaintiff seeks the following relief:
  26
          a. Imposition of damages for the sake of example and by way of punishing
  27
              Defendant in an amount sufficient to deter, make example of, and punish
  28
              Defendant in the form of punitive damages; and

                                                     7
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          b. Disgorgement of ill-gotten profits realized through intentional discrimination.
  2                              REQUEST FOR TRIAL BY JURY

   3         Plaintiff requests a trial by a jury on issues triable by a jury.

   4                                        VERIFICATION
             Plaintiff verifies under the penalty of perjury that the above statements of fact are
   5
       true and correct to the best of his knowledge, information, memory or belief.
   6
             RESPECTFULLY SUBMITTED this 5th day of February 2025.
   7
   8
                                             ;C--?;G-~
                                           Fernando Gastelum
   9                                       Pro Se

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